                      Case 2:20-cv-01637-JCM-BNW Document 45 Filed 11/02/20 Page 1 of 1



                 1
                 2
                 3
                 4                               UNITED STATES DISTRICT COURT
                 5                                      DISTRICT OF NEVADA
                 6                                                 ***
                 7    TONKAWA TRIBE OF INDIANS OF                         Case No. 2:20-CV-1637 JCM (BNW)
                      OKLAHOMA,
                 8                                                                         ORDER
                                                          Plaintiff(s),
                 9
                             v.
               10
                      SCIENTIFIC GAMES CORPORATION, et al.,
               11
                                                        Defendant(s).
               12
               13
                             Presently before the court is Gabriel S. Galanda’s (“petitioner”) verified petition for
               14
                      permission to practice pro hac vice. (ECF No. 26).
               15
                             On October 19, 2020, petitioner filed a verified petition for permission to practice pro
               16
                      hac vice. (ECF No. 26). The petition contains an inconsistency. The first page of the
               17
                      petition indicates that the petitioner was retained by plaintiff Tonkawa Tribe of Indians of
               18
                      Oklahoma. (Id. at 1). But on the fifth page of the petition, in the appointment of designated
               19
                      resident Nevada counsel, the listed party name is plaintiff Cow Creek Band of Umpqua Tribe
               20
                      of Indians. (Id. at 5).
               21
                             Petitioner shall file, within ten (10) days of this order, a verified petition that fully
               22
                      complies with the applicable local rules. Failure to timely comply will result in “the striking
               23
                      of any and all documents previously filed by the attorney.” LR IA 11-2(j).
               24
                             Accordingly,
               25
                             IT IS SO ORDERED.
               26
                             DATED November 2, 2020.
               27
               28                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
James C. Mahan
U.S. District Judge
